






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00651-CR






Ricky Antonio Sosa, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TOM GREEN COUNTY, 51ST JUDICIAL DISTRICT


NO. A-02-0936-S, HONORABLE THOMAS J. GOSSETT, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Following a bench trial, appellant Ricky Antonio Sosa was convicted of intentionally
or knowingly causing bodily injury to a child.  Tex. Pen. Code Ann. § 22.04(a)(1), (e) (West 2003). 
The court assessed punishment at twenty years in prison.

Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of Anders v. California, 386 U.S. 738
(1967), by presenting a professional evaluation of the record demonstrating why there are no
arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State, 573
S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974);
Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137 (Tex.
Crim. App. 1969).  A copy of counsel's brief was delivered to appellant, and appellant was advised
of his right to examine the appellate record and to file a pro se brief.

Appellant filed a letter responding to counsel's frivolous appeal brief.  In this letter,
he asserts that his written statement to the police, in which he admitted striking his infant daughter
and throwing her across the room, was coerced.  In his trial testimony, however, appellant admitted
that the statement was given voluntarily (although he insisted that what he said in the statement was
not true).  Appellant also complains, in a general way, that his lawyers did not perform effectively
and that his punishment is excessive.

We have reviewed the record, counsel's brief, and appellant's written response.  We
find nothing in the record that might arguably support the appeal.

The judgment of conviction is affirmed.



				__________________________________________

				Jan P. Patterson, Justice

Before Chief Justice Law, Justices Patterson and Puryear

Affirmed

Filed:   July 15, 2004

Do Not Publish


